     Case 1:20-cv-00052-SPW Document 277-1 Filed 10/11/23 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA                       )
MAPLEY,                                            )    Case No. CV-20-52-BLG-SPW
                                                   )
                   Plaintiffs,                     )        [PROPOSED] ORDER
      vs.                                          )
                                                   )
WATCHTOWER BIBLE AND TRACT                         )
SOCIETY OF NEW YORK, INC., and                     )
WATCH TOWER BIBLE AND TRACT                        )
SOCIETY OF PENNSYLVANIA.,                          )
                                                   )
                   Defendants.                     )
                                                   )

     Before the Court is Plaintiffs’ Unopposed Motion for an Interim Scheduling

Conference. Having reviewed the Motion and for good cause shown,

IT IS HEREBY ORDERED:

Plaintiffs’ Unopposed Motion for an Interim Scheduling Conference is GRANTED.

The Court shall conduct a telephonic scheduling conference at ____________

a.m./p.m. on the ______ day of _______________________, 2023.

  DATED this _____day of ___________, 2023.


                                           ___________________________________
                                           Susan P. Watters
                                           United States District Court Judge


            Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                        Page 1 of 1
